                 Case 2:21-cr-00109-DAD Document 228 Filed 06/28/24 Page 1 of 2


 1   CLEMENTE M. JIMÉNEZ, ESQ.
     California State Bar Number 207136
 2
     431 I Street, Suite 102
 3   Sacramento, CA 95814
     (916) 443-8055
 4
 5   Attorney for ESTELA ACEVEDO
 6
                                   UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                      Case No.: 2:21-cr-109 DAD-5

11                    Plaintiff,                    STIPULATION AND ORDER TO
12                                                  ADVANCE MATTER
                vs.
13                                                  DATE: June 27, 2024
14   ANTONIO MENDOZA RAMOS, et al.,                 TIME: 9:30 a.m.
                                                    JUDGE: Hon. Dale A. Drozd
15                    Defendants.
16
17              IT IS HEREBY STIPULATED by and between Assistant United States Attorney,
18   Angela Scott, Counsel for Plaintiff, and attorney Clemente M. Jiménez, Counsel for
19   Defendant Estela Acevedo, that the matter be advanced to this court’s criminal calendar
20   on August 27, 2024, at 9:30 a.m. for change of plea. The matter is currently set for trial
21   confirmation on October 8, 2024, and for trial on November 4, 2024. This request to
22   advance pertains to Defendant Estela Acevedo only.
23   //
24   //
25   //
26   //
27   //
28   //




     06/27/24
                 Case 2:21-cr-00109-DAD Document 228 Filed 06/28/24 Page 2 of 2


 1   DATED:            June 27, 2024                  /S/    Angela Scott
 2                                                    PHILLIP TALBERT
                                                      by ANGELA SCOTT
 3
                                                      Attorney for Plaintiff
 4
     DATED:            June 27, 2024                  /S/   Clemente M. Jiménez
 5
                                                      CLEMENTE M. JIMÉNEZ
 6                                                    Attorney for Estela Acevedo
 7
 8
                                                    ORDER
 9
10              Pursuant to the stipulation of the parties and good cause appearing, this matter is

11   advanced as to defendant Estela Acevedo only to August 27, 2024, at 9:30 a.m. for
12   change of plea hearing.
13
14              IT IS SO ORDERED.

15   Dated:       June 27, 2024
16                                                          DALE A. DROZD
                                                            UNITED STATES DISTRICT JUDGE
17
18
19
20
21
22
23
24
25
26
27
28




     06/27/24
